
712 S.E.2d 144 (2011)
STATE
v.
Marcus Douglas JONES.
No. 22A02-2.
Supreme Court of North Carolina.
July 29, 2011.
Elizabeth Hambourger Koch, Durham, for Jones, Marcus Douglas Sr.
L. Michael Dodd, Special Deputy Attorney General, for State of N.C.
Ernie Lee, District Attorney, for State of N.C.
The following order has been entered on the motion filed on the 27th of July 2011 by Defendant-Appellant in the Alternative for an Extension of Time to File Petition for Writ of Certiorari:
"Motion Allowed by order of the Court in conference, this the 29th of July 2011."
